                  Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 1 of 15


              FORMAL DISCIPLINARY INVESTIGATION TRANSMITTAL
                             ORIGINAL TRANSMITTAL--INVESTIGATIVE CASE EXHIBIT A
      PIB Control #                 2022-0513-R                                       OIG#                                          _ Originated from Wei
                                                                                                -----
    PIB Commander Review (Initials)                                    Date: / / /0 - 2 i:             RFC:                                        120     3/23/23

                                                                         CaseT       e
      .Adherence to La\t                Criminal (Orleans Parish)      Unauthorized Force    False/Inaccurate 1st Amendrnertt                        Work Retaliation
   X .Administrative                   Criminal (other jurisdiction)   Domestic Violence     BWC                        \Vorkplace Discrimination
                                                      ='--'-'-'==='----------'--'-----'-----''------------'----=--'---------'--------
      Bi as/Racial/ wfiljn g: /Discrirnin • tion Policing                 LGBTQ

Date of Cogniznance of Allegation
                                                                              Date
                                                                           ll/8/2022                Form completed by whom
                                                                                                                           ransm, a              orm
                                                                                                                                                 S _
                                                                                                                                               _ _.,            ____
                                                                                                                                                         _,_) ones
                                                                                                                                                     t. L.
Date Control # Issued                                                      1l/9/2022                Date fom                                       11/11/2022
Date Complaint Form Received in PIB                                       11/9/2022                 Assigned to:
Date Investigation Determined (w/in 3 days receipt)                       11/10/2022
Date of Classification (due w/in 14 day, of cogniznance)                  11/23/2022
(da[i! ot dassifii:11tk>n i:.-: "DATE FORM COMPLB1'.E.0 11)                                         Number of CD:                          0
                              Due Dates                                                             Number of Photos:
                                                                                                                                    ----
Date Invest due in PIB (40 days from dassificatio11)                        1/2/23                  Other (specify)

Date Invest due to PIB if extension is approved                             3/3/23           (E~c due darn 100 day~ (tam cl.o.s~ifie.:itfon dat,;:; date entered by PI:B)

Date Invest Final (60 days from classification)                             1/22/23                       Rec'ed by Bureau Rep. sign & date
Date Invest returned to PIB
90 Days                                                                   2/21/2023
120 Days                                                                  3/23/2023             150 days                         4/22/2023
Remarks
           MUST BE COMPLETED BY INVESTIGATOR AND INVESTIGATOR'S COMMANDER
Date Investigator rec'd from Bureau Rep
Assigned Investigator (sign and print name)
Date E,ctensio11 request sent to Civil Service                                              Granted? Y/N/MOOT (C;«Je one)
Date <eceipted copy of ext. request emailed to PlB
Date intro Jette< sent t o ~                                                             Date(s) status letter(s) sent _ _ _ _ _ _ _ _ __
Date Completed Invest due to Invest's Supervisor                                         Date Rec'd by Superviso1
Date Comp. Invest given to lnvest's Commander                                            Approved by Commander:=--------
                                                                             Date                                         By Whom
Verbal notice of disposition to accused
Written notice of disposition to accused
Written notice of disposition~ by accused
Remarks

                                     MUST BE COMPLETED BY INVESTIGATOR'S BUREAU
Rec'd by Bureau Rep (signature, printed name, and date of receipt)
Date Completed Investigation due to Bureau Chief
Date Completed Investigation rec'd to Bureau Chief
Completed Invest approved by Bureau Chief (sign and date)
Remarks
          Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 2 of 15




                        P.I.B. Misconduct Complaint Determination

    P.I.B. Representative: Sgt. Lawrence Jones                       CTN#: 2022-0513-R

    Receipt of Form 230 Date:        11/09/2022                      Determination Date: 11/11/2022
                                                                     (Within :3 days of receipt of misconduct)


    Investigation Assignment Recommendation: (c;rc1eone)


    ICO - Supervisor           IP.LB.I         Criminal     F.I.T.        Intake              Outside
    Agency
              Bureau

    INTAKE SUPERVISOR: _ __                                                     Date: _ __

    CIRCLE ONE:         [fo"II MVI      NFIM     NSA    BWC MEDIATION           GRIEVANCE                CANCELLED


    ICO - Supervisor              P.I.B.       Criminal     F.I.T.       Intake              Outside Agency
             Bureau


    PIB Chief: Approve/Disapprove                                    Date: ----


      MEDIATION             NEGOTIATED SETTLEMENT               GREVIANCE                       SUPERVISOR FEEDBACK LOG


•     Internal Complaint      •    Internal Initiated
                                                            •   Internal Initiated                   •     Internal Initiated
      Yes or No                      Yes or  No                 Yes or No                                  Yes or    No
•     Public Complaint        •    Public Complaint
                                                                                                     •     Minor Violation
      Yes or No                    Yes or No
                                                                                                           Yes or No
•     Two within 12 month     •    Minor Violation
      Yes or No                    Yes or No


•
      period
      Violations Qualify
                              • from
                                Discipline ranges
                                      Leiter to 10
      Yes or No                    days       Yes or   No
      . Professionalism
      . Courtesy
      . Neglect of Duty




     ** Attach short forms and highlight previous Mediation/Negotiated Settlements**



    Rev 03/18/20151
               Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 3 of 15




                                 INTAKE CASE TRACKING FORM

  TO: Captain Kendrick Allen

FROM: Sgt. Lawrence Jones

CTN: 2022-0513-R

CIRCLEONE:        BWC IFDII    MEDIATION     MVI   NFIM   NSA    REDIRECTION

DATES OF COMPLETION
SUBMITTED TO SUPERVISOR FOR REVIEW _ _ _ _ _ __

RETURNED FOR CORRECTIONS

SUPERVISORY APPROVAL

RECOMMENDED MEDIATION

CRIMINAL TO ADMINISTRATIVE - - - - - - - -

SUPERVISOR FOR MVI INSIGHT DOCUMENTATION- - - - - - - -

MSB FOR GRIEVANCE REVIEW_ _ _ _ _ _ _ _ _ _ _ _ __




FORM COMPLETED BY: Sgt. Lawrence Jones                     DA TE: 11/09/2022


YOU MAY COMPLETE THIS BY HAND WRITING
INFORMATION IF YOU PRINT LEGIBLY




REV, 7/10/18
      Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 4 of 15




               INITIATION OF A FORMAL DISCIPLINARY INVESTIGATION

CONTll.01., IWMBEII: 2022-0513-R                       OAT>; CO~IPLAINTIIECEIVW: J (/08/2022
DA n; FOll.M 230 IIECEIVED nv 1'18: 11/09/2022         IIATF; INITIATION FOIIM COMl'LETW; I 1/1 1/2022

DOMESTIC INCIDENT:_                                                         St:XtlAL IIAIIASSMENT·

                                                    Source
                  ..L Public Comph1i11t          _NO~ervlso1·


                                                  How Compl3int Received
           Violation Observed _ln Person          Telephone_ Correspondence .JL.. lnvestigation _ _




Investigator Initiating Complaint:           Sergeanl Lawrence Jones
Assignment:                                  Public Integrity Bureau

Complainant's Name, Race, Sex,              Sergeant Lawrence .Jones B, M, 5 I YOA
D.O.B. (or age):

Complainant's Address,                      1340 Poydras Street
City, State, Zip Code:                      New Orleans, La 70119

Home/Business/Cell Phone #:                 504-658-6800
(Include area code)

Email Address:                              lajones@nola.gov

Date and Time Incident of                   Various dates and times.
Complaint Occurred:

Location Where Incident of                 Various locations.
Complaint Occurred:


Duty Status:                                                                    Clothing:
On Duly _JL,1011'_ De1ail_                                    Regular Uniform_Task Force Uniform _ Plainclo!hes .1L_

                                                                                                 Suspended: _ _
Total Number of Accused Officers: I
                                                                           Reassigned: X •
Accused Member: Rank, Name, Race, Sex, Employee#, Assignment
Senior Police Officer Jeffery Vappie, B, M Emp. ID# 08913 !SB/ Executive Prh===------'

Alleged Rule Violation/s (State Specific Rule):
VI: Rule 4 Performance of Duty; ParagraruL:LN~lect of Dytv C6 Failing to comply with
instructions, oral or written, from any authoritative source to wit: N.O.P.D. Chapter 22.08 Police
Secondary Employment Paragraph 32 which states: No member. including Re§i;r_ye officers. shall
work more tha!). more than 16 hQ~n·s and 35 minutes {16.58 hours) within a 24-hour period.
      Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 5 of 15


            INITIATION OF A FORMAL DISCIPLINARY INVESTIGATION

PIB CTN#: 2022-0513-R                                                                   Page 2 of3


Accused Member's Supervisor (Rank, Name, Employee number):
Sergeant Tokishiba Lane, Emp. ID# 07609

Witness:      unknown

filtl;.
On Tuesday, November 8, 2022, approximately 7:00p.m., Public Integrity Bureau Sergeant
Lawrence .Jones was contacted by Public Integrity Bureau Deputy Chief Keith Sanchez. Deputy
Chief Sanchez informed Sergeant Jones that a media request was sent to the Public Integrity
Bureau relative to New Orleans Police Department Senior Police Officer Jeffery Vappie. The
request was sent to Sergeant Lawrence Jones for review. (Attachments 2)

On Wednesday, November 9, 2022, Sergeant Lawrence .Jones reviewed the request and learned
that Senior Police Officer Jeffery was accused of working more than 16 Hours and 35 minutes
with in a 24-hour period. The request indicated Officer Vappie may have violated this rule when
on several occasions while assigned to the Executive Protection section he may have violated this
NOPD policy.

Based on the allegations provided by the media request, Sergeant Lawrence Jones initiated a
departmental FD! on Senior Police Officer Jeffery Vappie assigned to the Investigative Services
Bureau/ Executive Protection Section. Officer Vappie may have violated Rule 4. Performance of
Duty; Paragraph 4 Neglect of Duty C6 ,Failing to comply with instructions. oral or written, from
any authoritative source to wit: N.O.P.D. Chapter 22.08 Police Secondary Employment Paragraph
32 which states: No member, including Reserve officers~..§hall work more than more than 16 hours
and 35 minutes (16.58 hours) within"a 24-hom period.

At the conclusion of the review by Sergeant Jones, Senior Police Officer .Jeffery Vappie was placed
on Administrative Reassignment (Attachments 3) pending the outcome of the administrative
investigation.
   Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 6 of 15

           INITIATION OF A FORMAL DISCIPLINARY INVESTIGATION

PIB CTN#: 2022-0513-R                                                              Page 3 of3




Attachments:

   l. Public Integrity Bureau Intake Form 230, three (3) pages.
   2. WVUE Media Request, four (4) pages.
   3. Administrative Reassignment for SPO Jeffery Vappie, two (2) pages.




                                                         fa..wr.en.c.e. lJ.one.~
                                                     0
                                                    Sergeant Lawrence Jones
                                                    Public Integrity Bureau
                                                    Criminal Section
        Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 7 of 15


                                           CITY OF NEW ORLEANS

                            DEPARTMENT OF POLICE
                                                P.O. Box 51480
                                          New Orleans, Louisiana 70151
                                                                                                    qtf;_;_· '-• _;,:'.)
                                                                                                      ,,~.-'. ·'.


LATOYA CANTRELL                                  "to protect and to serve"                     SHAUN D. FEJIGUSON
    MAYOJI                                                                                      SUPEJIINTEND£NT

               PUBLIC INTEGRITY BUREAU INITIAL INTAKE FORM
                                 (circle one)
       COMMENDATION, COMPLAINT OR DOCUMENTATION OF MINOR VIOLATION

1N0Poo,.1y1 PIB CTN#:   2022-0513-R               Today's Date: 11/09/2022               Time: 11 :30am
Complainant's Last Name: _J_o_n_e_s____First Name: Lawrence Race:                    Sex: M DOB: _ __
Address: 1340 Poydras Street                       City: New Orleans               State: La        ZIP: 70119
Contact #1: 504-658-6800                 Contact #2: _ _ _ _ _ _ _.Email_ _ _ _ _ _ _ __
Location(s) Incident Occurred: _V_a_r_io_u_s_L_o_c_a_t_io_n_s_________________
Date & Time Jncident(s) Occurred: 11/09/2022 11 :OOa.m.                      NOPD Item# N/A
                                                                                        --------
Do you have a COMMENDATION for, or COMPLAINT against, an NOPD employee? (Circle one)
Accused Officer 1: Jeffery Vappie                                   Rank: SPO             Badge#: Emp 10# os913
Accused Officer 2: _ _ _ _ _ _ _ _ _ _ _ _ _ _ Rank: _ _ _ _ _ Badge#: _ _ __
(Please list additional officers in narrative)      Were you directly involved in the incident?      YES I NO
Please list the names and contact information for all witnesses: - - - - - - - - - - - - - - -



Were you arrested? YES / NO Did you receive a ticket and/or summons for this incident? YES / NO
Were you injured during this incident? YES/ NO             If so, did you seek medical attention?    YES/ NO
If injured, please describe the injury and how it occurred. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



The below section is to be completed by NOPD supervisors ONLY***********"'**********"'****"*

ff this is a public complaint, immediately obtain a complaint tracking number and provide it to the
complainant along with a copy of this form. Submit this form to PIB before your tour of duty ends.
Was the complainant's interview recorded? YES/ NO (lfno, explain why)


                                           rd . Duty Status (Check One) On duty [.l Off □
                                            J6NES         Rank: SERGEANT Assignment: PIB/CRIMINAL
Signature: ----"'-,<7------1-----+---Phonc #: 504-658-6800                   Today's Date: 11/09/2022

NOPD Fomi 230                                                                EXHIBIT     . . , Initial+


                                                                               A
         Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 8 of 15



Continuation Page                                                                             Page 2 of 3

                                            NARRATIVE PAGE
If you are making a complaint: What is your primary complaint and what outcome do you expect?
If you are making a commendation: What officer(s) would you like to commend, and why?
If you are reporting a minor violation, please swnmarize the behavior that constituted the violation.



------------------------See attached FD 1---------------------------




                                                                                                        /




Please Print Complainant Name: Lawrence Jones Signature; --"-+-+--lf------


PIB CTN# 2022-0513-R                                          Intake Represen tive's Initials _L_J__
NOPD Form 230
         Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 9 of 15



Continuation Page                                                                                  Page 3 of 3



                                            NARRATIVE CONTINUED




TM below section to be completed by NOPD supervisors for reporting minor violations/infractions ONLY***

Please list the NOPD Rule and Paragraph, Chapter, or General Order violated:




The disciplinary action taken against the accused employee is one or more of the following (check one):

Verbal Counseling C       Remedial Training 0          Other [ (provide attachments to document other actions)

                                        Accused Employee's Information

Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date of violation: _ _ _ _ _ _ _ _ _ _ __

Race: _ __       Sex: ___ Empl lD #: _ _ _ _ Rank¾ _ _ _ _ Assignment: _ _ _ _ _ _ __

Shift designation (Circle One) l" 2•• 3••       Duty Status (Check One) On duty D Off"

Issuing Supervisor Name: _ _ _ _ _ _ _ _ _ __                  Title/Rank, Employee ID#: _ _ _ _ _ __

Signature of Accused: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Date of signature _ _ _ _ _ __

 PlBUSEONLY               NON-DISCIPLINARY COUNSELING FOR MINOR VIOLATION

 APPROVED BY:
                  ----------- DISAPPROVED BY:-----------
 FORMAL DISCIPLINARY INVESTIGATION INITIATED BY:- - - - - - - - - - - - - -


PIB CTN# 2,o'Z,2,-C> $"13-t<-                                    Intake Representative's Initials_'-+/_
NoPD Form 230                                                                                             '
    Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 10 of 15




Media request from Fox 8 News.


Gregory A. Joseph
Director of Communications
Office of Mayor LaToya Cantrell
City of New Orleans I 1300 Perdido Street I Suite 2E04 I New Orleans, LA 70112
Gregory.]oseph@'nola.gov 504.658.4924 (o) I 504.409.1492 (c) I 504.658.4938 (f)




~
               City of New Orleans
               Mayor La Toya Cantrell
From: Lee Zurik <lee.zurik@gray.tv>
Sent: Tuesday, November 1, 2022 10:31 AM
To: Mayor's Communications Team <communications@nola.gov>
Subject: WVUE Request

EMAIL FROM EXTERNAi. SENDER: DO NOT click links, or open attachments, if sender ls unknown, or
the message seems suspicious in any way. DO NOT provide your user ID or password. If you believe
that this is a phishing attempt, use the reporting tool in your Outlook to send this message to
Security.


We are preparing a story for television and the internet that, based on surveillance footage from a
public camera outside the Upper Pontalba Apartments, will focus on Mayor Cantrell and Officer Jeffrey
Vappie.

We want to provide you with an opportunity to respond or clarify, so we are reaching out. These are
some ofthe points that might be made in the story:

    •   We have 45 days of surveillance footage. Mayor Cantrell spent a total of 4 days, 16 hours, and
        36 minutes during those 45 days. Of those days, the minimum time Officer Vappie was there
        was 1 hour and 1 minute (9/10) and the maximum was 10 hours and 47 minutes (8/9).
    •   Office Vappie was the only member of Mayor Cantrell's security team that we saw enter the
        Upper Pontalba Apartments during the 45 days.
    •   On August 9, Office Vappie wasn't listed as being a part of Mayor Cantrell's security team
        (according to her calendar). He arrived at 7:55 am with a bag of groceries and a case of bottled
        water. He was there until 3:09 pm. He returned at 8:36 pm and left at 12:42 am. According to
        city documents, he was on the clock for the NOPD from 8am-8pm that day.
    •   On August 16, he arrived at 7:55 am and left with Mayor Cantrell in workout clothes at 8:40
        AM. He returned at 10:00 am and stayed in the apartment until 2:16 pm. He was assigned to
        her detail that day and worked from 9am-9pm.
    •   There are more days like the two above, but we wanted to give you a snapshot of some of the
        findings that might be mentioned in our story.
    •   Office Vappie started working details for Mayor Cantrell in May 2021.
                                                                                    EXHIBIT
      Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 11 of 15




      •   Mayor Cantrell appointed Office Vappie to the HANO Board. He attended the first meeting in
          March 2022. On at least three occasions, he attended a HANO meeting while also being on the
          NOPD clock.
      •   He has made more in overtime this year than the other members of Mayor Cantrell's security
          team.
      •   He is the only member of Mayor Cantrell's security team that flew first class with her- on a trip
          to San Francisco.
      •   During the 27 days at the apartment, he spent more than an hour there 33 different times, often
          visiting more than once in a day.

If you care to provide us with a response or clarification, or want someone to do it on your behalf,
please do so by close of business Wednesday, November 2.

Thanks,

Lee


                             Lee Zurik
                             Anchor/Chief Investigative Reporter
                             lzurik@fox8live.com
  LOCAL FIRST                1025 South Norman C. Francis Parkway
                             New Orleans, LA 70125
                             o: 504-483-1544
   B0UnCE
  NOLA WEEKEND
  ---*
                             ~"@
    Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 12 of 15




Get Outlook for iOS

From: Lee Zurik <lee.zurik@gray.tv>
Sent: Monday, November 7, 2022 9:02:51 PM
To: Mayor's Communications Team <communications@nola.gov>
Cc: Dannah Sauer <Dannah.Sauer@fox8live.com>
Subject: WVUE Request


 EMAIL FROM EXTERNAL SENDER: DO NOT click links, or open attachments, If sender Is unknown, or
 the message seems suspicious in any way. DO NOT provide your user ID or password. If you believe
 that this is a phishing atten1pt, use the reporting tool in your Outlook to send this message to
 Security.


Jeffrey Vappie was on several trips with Mayor Cantrell. We have questions about some of them:

   1. January 21, 2022 -The flight from DC returned at 5:24 CST. That day, nothing was on Mayor
      Cantrell's schedule other than that flight. That day, Officer Vappie billed taxpayers from 7:00
      am -11:00 pm.
   2. August 23, 2022 - Mayor Cantrell had an early flight back from DC. It landed at 10:20
      AM. Officer Vappie wasn't here security on duty that day, but did fly back with her from
      DC. That day, Officer Vappie billed taxpayers from 7:00 am - 9:00 pm. The day before, the only
      meeting on her calendar was with the DOJ from 1:30-2:30 pm. That day, Officer Vapple billed
      taxpayers from 7:00 am - 9:00 pm.
   3. August 30, 2022 - Mayor Cantrell returned from the failed Artemis launch at 4:10 pm. That was
      the only event on her calendar. That day, Officer Vappie billed taxpayers from 8:00 am -9:00
      pm.
   4. April 9-10-Offlcer Vappie returned with Mayor Cantrell from San Francisco. On Saturday,
      nothing was on her calendar other than the red eye flight. It left at 11:0S pm (Saturday) and
      arrived In NOLA at 5:22 am (Sunday). For those two days, Officer Vappie billed taxpayers for 30
      hours of work.

We also have questions about the following:

    l.   Sunday, September 19, 2021-According to Mayor Cantrell's schedule, it was an all day New
         Orleans day. Nothing was on her schedule. Officer Vappie billed taxpayers for 24 straight hours
         of work-from 7:00 am Sunday to 7:00 am Monday. He took an hour off then billed taxpayers
         an additional 15 hours - from 8:00 am Monday until 11:00 pm. Mayor Cantrell's last meeting
         was at 3:30 pm.
   2.    September 30-October 2, 2021-According to city records, Officer Vappie did not attend a trip
         to Dayton, OH with Mayor Cantrell. That Saturday, Vappie billed taxpayers for 17 hours of
         work. That Sunday after she returned, he billed for 15 hours.
   3.    Sunday, October 17 - Mayor Cantrell had three events on her calendar-beginning at 9:30 am
         and ending at 5:00 pm. Officer Vapple billed taxpayers for 19 hours of work that Sunday-from
         7:00 am - 2:00 am. The day before (October 16), she had two events. One at 9:00 am the other
      Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 13 of 15




          from 10:00am-5:00 pm. That day, Officer Vappie billed taxpayers for 18 hours of work - from
          7:00 am -1:00 am.

We have questions on a few more, but I think that gives you an idea of what we are asking about. Our
deadline is 4:00 pm on Tuesday, November 8.

Thanks,

Lee




                            Lee Zurik
                            Anchor/Chief Investigative Reporter
                            1,urik@fox8live.com
  LOCAL FIRST               1025 South Norman C. Francis Parkway
                            New Orleans, LA 70125
                            o: 504-483-1544
   B0UnCE
  NOLA WE.EKE.ND
                            11 \I'@
            *
         Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 14 of 15

                       ADMINISTRATIVE REASSIGNMENT NOTIFICATION

DATE:, _ _ _-=--N'-"o--'-ve""m'-"b=ec=-.r.a.9:.. :•2::.:0c:::2.:::.2_ __               P.I. B. CONTROL NO.:            CTN 2022-0513-R

           TO: Senior Police Officer Jeffery Vappie; Employee ID# 08913; I.S.B. / Mayor Security
              (Rank, Name, & S. S. # OF REASSIGNED EMPLOYEE)

    FROM: Deputy Superintendent Keith A. Sanchez - Public Integrity Bureau
         (Rank & Name oflssuing Authority)

SUBJECT: Administrative Reassignment

            from          I.S.B I Mayor Security                           to _ _ ___cFc.c·c..cOcc.B=-.c.........---

           You are hereby notified that as of2 : 00 am/pm, on _!_!_/J]J_j 2022 you have been
                                              (Time)                (Date)
           placed on Administrative Reassignment Status.

                 This action has been taken pending a departmental inquiry into the below listed alleged
violation of depat1mental regulation, violation oflaw, or administrative reason. (State date, time, and
location of alleged incident. Department regulations, statutes, or ordinances must be quoted by title,
article, section, paragraph, and sub-paragraph as applicable.)

Officer Vappie you were identified to be involved in an Administrative investigation by the

Public Integrity Bureau. You are being placed on Administrative Re-Assignment pending

the conclusion of the investigation.




In accordance with the following complaint, it has been determined that you may have violated

Rule 4 Pe1formance of Duty; Paragraph 4 Neglect of Duty C6 Failing to comply wit instructions,

oral or written, from any authoritative source to wit: N.O.P.D. Chapter 22.08 Police Seconda1y

Employment Paragraph 32 which states: No member, including Reserve officers, shall work more than

more than 16 hours and 35 minutes (16.58 hours) within a 24-hour period.




                                                                                                                         EXHIBIT

                                                                                                                       I__._C_
       Case 2:12-cv-01924-SM-DPC Document 747-1 Filed 08/29/23 Page 15 of 15




                                                                                                              page 2 of2

      You are directed to report to   F.O.B. / 715 S. Broad Street
                                                       (assignment)
on ___!_!_j_l_Q_/2022 at 7:25 : A.M. in plain clothes.
     (Date)             (Time)

          Your privilege of working outside paid details is hereby suspended.

          Your police commission is also limited to those hours w en you are at work and at your actual
          place of assignment.




                                     RETURN TO FULL DUTY STATUS
          Effective _ _ _ _ _ _, • • - - - am/pm. this Administrative Reassignment is hereby cancelled and you are
reinstated to full regular duty. All of the restrictions placed on you during the Administrative Reassignment are removed.

         You are further instructed to contact _ _ _ _ _ _ _ , of the _ _ _ _ _ _ _ _ , reglirding reporting time
to your regular assignment.

REMARKS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Acknowledged: _ _ _ _ _ _ __                            Date: -------

Served by: _ _ _ _ _ _ _ _ __


cc:       l ~ Superlntcndcmt of Police:
          I ~ Public Integrity Bl,lrellu
          1 - kea5,signed employee'~ Bureau Commander
          I Rca~igned employee':!. Commander
           &



          I - Employee Rellnions Unit
          l Renssigncd employee
           n




NOPD FORM AR-I (revised OJ.04)
